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                                                   Attn: Cord Johnson
                                                   777 Main Street
                                                   Suite 2800
                                                   Fort Worth, TX 76102
                                                                            Reference Information
                                                   cm# 546046.14 (ls,cd)

                                                  02/09/2023




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                                                                Cord Henry Johnson
                                                               .680 McClendon Walker Rd.
                                                                Aledo, TX 76008



                                                                                Reference Information
                                                               cm# 546046.14 (ls,cd)

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                                                        Weatherford, TX 76087


                                                                                   Reference Information
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                                                       02/09/2023




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                                                     Fort Worth, TX 76102
                                                                                Reference Information

                                                     cm# 546046.14 (ls,cd)

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                                                  '       Attn: Cord Johnson
                                                          777 Main Street
                                                          Suite 2800
                                                          Fort Worth, TX 76102
                                                                                    Reference Information

                                                           cm# 546046.14 (ls,cd)

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                                                   777 Main Street
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                                                   Fort Worth, TX 76102
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                                                  02/09/2023




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Case 4:23-cv-00609-BJ Document 1-14 Filed 06/15/23               Page 9 of 11 PageID 347




                                ~CADENCE
                                  ~       Bank
                                         February 8, 2023

 By Certified Mail CRR, Regular Mail
 and Email

 BRIDGELINK ENGINEERING, LLC
 777 Main Street, Suite 2800
 Fort Worth, TX 76102
 Attention: Cord Johnson
 cole@bcrcompanies.com

 COLE WAYNE JOHNSON
 1301 Old Tin Top Rd.
 Weatherford, Texas 76087
 cole@bcrcompanies.com

CORD HENRY JOHNSON
680 McClendon Walker Rd.
Aledo, Texas 76008
Cord@bcrcompanies.com


       Re:     Credit Agreement dated August 6, 2021 by and among BRIDGELINK
               ENGINGEERING, LLC ("Borrower"), the Lenders parties thereto (each a
               "Lender"), and CADENCE BANK formerly known as BancorpSouth Bank
               ("Administrative Agent" and a "Lender") as amended by that certain First
               Amendment to Credit Agreement, dated as of December 22, 2021, that certain
               Second Amendment to Credit Agreement ("Second Amendment") dated as of
               March 29, 2022, and that certain Third Amendment to Credit Agreement ("Third
               Amendment") dated as of July 14, 2022 (as so amended and as may from time to
               time be further amended, restated or otherwise modified, the "Credit Agreement");
               All terms not otherwise defined shall have the meaning set forth in the Credit
               Agreement.

Dear Sirs:

We are writing to you in connection with the above-referenced Credit Agreement. Borrower and
each Guarantor are notified that Borrower failed to make the interest payment due on December
31, 2022 as required by Section 3 .1(c) of the Credit Agreement. The failure to make that payment
constitutes an Event of Default under the Credit Agreement. Please be advised and notified that if
such Event of Default is not cured within 5 Business Days after the date of this letter, the
Administrative Agent intends to (i) increase the rate of interest under the Credit Agreement to the
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 February 8, 2023
 Page2



 Default Rate, (ii) exercise its other rights and remedies under Credit Agreement, the Guarantee
 Agreement and the other Loan Documents, including without limitation, the rights to accelerate
 the maturity of the Loans and foreclose the liens created by the Loan Documents.

 Administrative Agent hereby expressly reserves all of their rights and remedies under the Loan
 Documents, at law and in equity.

 This notice does not (A) operate as a waiver or modification of any right, remedy, power or
 privilege of Administrative Agent or any Lender under any of the Loan Documents or applicable
 law, all of which rights, remedies, powers and privileges are hereby reserved; (B) prejudice or
 preclude any other or further exercise of any rights, remedies, powers or privileges of
 Administrative Agent or any Lender under any of the Loan Documents or at law or in equity; (C)
 entitle you to any other notice or demand whatsoever; (D) in any way modify, impair or release
 any of your liabilities under or pursuant to any of the Loan Documents or any other liability that
 you have to Administrative Agent or any Lender; (E) waive any breach or default under the Loan
 Documents, whether or not known to Administrative Agent or any Lender and whether or not
 stated in this letter; or (F) operate as an agreement by Administrative Agent or any Lender to
 forbear from exercising any remedies available to them now or in the future.

 Furthermore, any failure or delay by Administrative Agent or any Lender in enforcing its rights
 and remedies under the Loan Documents, at law or in equity, or the acceptance from time to time
 by Administrative Agent or any Lender of any payments or performance on account of the
 obligations shall not, in any way, constitute or act as (i) a rescission or waiver of any requirements
 under the Loan Documents, (ii) a modification of any of the Loan Documents, (iii) an accord or
 satisfaction with respect to the entire amount of the obligations due under the Notes and the other
 Loan Documents; or (iv) a course of dealing or course of conduct by Administrative Agent or any
 Lender.

                                                Sincerely,

                                                CADENCE BANK


                                               By: __
                                               Name: ~ ·
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                                                        !/_,,_I_
                                               Title: Senior Vice President


 cc:    By Certified Mail CRR Regular Mail
        and Email
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 February 8, 2023
 Page 3



      BIGHORN CONSTRUCTION AND RECLAMATION L.L.C
      777 Main Street, Suite 2800
      Fort Worth, TX 76102
      Attention: Cord Johnson
      cole@bcrcompanies.com

      BIGHORN SAND & GRAVEL LLC
      777 Main Street, Suite 2800
      Fort Worth, TX 76102
      Attention: Cord Johnson
      cole@bcrcompanies.com

      BIGHORN INVESTMENTS AND PROPERTIES, LLC
      777 Main Street, Suite 2800
      Fort Worth, TX 76102
      Attention: Cord Johnson
      cole@bcrcompanies.com
